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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANDREW FALLOWS,                            :
    Plaintiff,                             :
                                           :
       v.                                  :       CIVIL ACTION NO. 25-CV-0577
                                           :
DONALD TRUMP, et al.,                      :
    Defendants.                            :

                                           ORDER

       AND NOW, this 21st day of April, 2025, in light of pro se Plaintiff Andrew Fallows’s

failure to comply with the February 4, 2025 Order issued in this case (ECF No. 3), it is hereby

ORDERED that:

       1.     This case is DISMISSED WITHOUT PREJUDICE for failure to prosecute.

       2.     The Clerk of Court is DIRECTED to CLOSE this case.


                                                          BY THE COURT:



                                                          /s/ Mitchell S. Goldberg
                                                          __________________________
                                                          Mitchell S. Goldberg,    J.
